319 F.2d 844
    James PIERCE, Appellant,v.J. E. LaVALLEE, Warden of Clinton Prison, Dannemora, New York, Appellee.Martin T. SOSTRE, Appellant,v.J. E. LaVALLEE, Warden of Clinton Prison, Dannemora, New York, Appellee.William SaMARION, Appellant,v.J. E. LaVALLEE, Warden of Clinton Prison, Dannemora, New York, Appellee.
    No. 388.
    Docket 27598.
    United States Court of Appeals Second Circuit.
    Argued June 17, 1963.
    Decided July 18, 1963.
    
      Edward W. Jacko, Jr., New York City, for appellants.
      Lester Esterman, Asst. Atty. Gen. of the State of New York (Louis J. Lefkowitz, Atty. Gen., Irving Galt, Asst. Sol. Gen., and Ronald J. Offenkrantz, Asst. Atty. Gen., New York City, on the brief), for appellee.
      Before LUMBARD, Chief Judge, and CLARK and HAYS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Plaintiffs appeal from Judge Brennan's second dismissal of their action under the Civil Rights Act, 42 U.S.C. § 1983. The court's first dismissal (unreported) was reversed by us because it had been entered without taking testimony, 2 Cir., 293 F.2d 233. The present order was made after a very extensive trial. While inmates at Clinton Prison, Dannemora, New York, plaintiffs were leaders of the "Muslim Brotherhood" — a self-organized and self-styled group having as its avowed object the study and furtherance of Islam, but which also had overtones of secrecy and intrigue. When the prison officials discovered the existence of this organization, they disciplined the three plaintiffs for "agitating." The district court's finding that the plaintiffs had failed to establish that their punishment resulted from their religious beliefs was not clearly erroneous; and so we must affirm.
    
    
      2
      Affirmed.
    
    